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                                Railroad Company
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                              8
                              9                           UNITED STATES DISTRICT COURT
                           10                            CENTRAL DISTRICT OF CALIFORNIA
                           11 GEORGE TORRES, an individual; and            Case No. 2:17-cv-04059-MCS-JEM
                              ROBERTA TORRES, an individual,
                           12                                              NOTICE OF EX PARTE
                                       Plaintiff,                          APPLICATION AND EX PARTE
                           13                                              APPLICATION TO CORRECT
                                  vs.                                      ORDER FOR CLERICAL ERROR
                           14                                              PURSUANT TO RULE 60(a);
                              HAROLD IGDALOFF, et al.,                     MEMORANDUM OF POINTS AND
                           15                                              AUTHORITIES
                                       Defendants.
                           16                                              [Filed Concurrently with Declaration of
                              UNION PACIFIC RAILROAD                       Sarah P. Bell; [Proposed] Order]
                           17 COMPANY, a Delaware corporation
                                                                           The Hon. Mark C. Scarsi
                           18           Defendant and Cross-Claimant,
                                                                           Action Filed:     May 31, 2017
                           19 vs.                                          Trial Date:       Vacated
                           20 HAROLD IGDALOFF, et al..
                                                                           Hearing Date:     None Set
                           21           Defendants and Cross-Defendants.   Hearing Time:     None Set
                           22
                                    AND RELATED CROSSCLAIMS
                           23
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                              1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                              2           PLEASE TAKE NOTICE THAT pursuant to Civil Local Rule 7-19,
                              3 Defendant Union Pacific Railroad Company (“Union Pacific”) will and hereby does
                              4 apply ex parte for an order to correct the Court’s August 10, 2022 Order Granting
                              5 Motion for Determination of Good Faith Settlement, ECF No. 484 (“Order”).
                              6 Specifically, Union Pacific respectfully requests that the Court amend the Order (at
                              7 paragraph 2, page 3) to delete reference to dismissing the remaining claims and
                              8 counterclaims between Union Pacific and the Igdaloff Parties1 and to likewise delete
                              9 direction to the Clerk to close the case pending the imminent filing of the Parties’
                           10 Stipulated Judgment.
                           11             Upon review of the Order, counsel for Union Pacific discovered a clerical
                           12 error in the second paragraph on page three of the Order, in which the Court
                           13 dismissed all remaining claims and counterclaims between Union Pacific and the
                           14 Igdaloff Parties and ordered the Clerk to close the case. Dismissing the claims
                           15 between these remaining parties and closing the case would preclude the parties
                           16 from effectuating necessary terms of their settlement, as explained in Union
                           17 Pacific’s moving papers—the filing and entry of a Stipulated Judgment pursuant to
                           18 Federal Rule of Civil Procedure 41(a)(2) providing for the Court’s continuing
                           19 jurisdiction over critical obligations in the settlement, followed by entry and
                           20 recordation of Abstracts of Judgment as security for the $4,900,000 payment to
                           21 Union Pacific by the Igdaloff Parties. The filing and entry of the Stipulated
                           22 Judgment, and entry and recordation of Abstracts of Judgment are key terms of the
                           23 settlement such that outright dismissal of the remaining claims between Union
                           24 Pacific and the Igdaloff Parties and directions to the Clerk to close the case are an
                           25 unintended clerical error.
                           26
                           27       1
                                Harold Igdaloff, Estate of Evelyn Igdaloff, Deceased, and the Igdaloff 1993
                           28 Family Trust are collectively referred to herein as the “Igdaloff Parties”.
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                                    EX PARTE APPL. TO CORRECT ORDER –        2
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                              1           Good cause exists to support this application for ex parte relief so that the
                              2 Court may conform the Order to reflect the Court’s and the Parties’ shared intent
                              3 that the Parties file the Stipulated Judgement contemplated by their settlement,
                              4 which the Court appropriately determined to have been entered into in good faith.
                              5 Pursuant to Civil Local Rule 7-19, counsel for Union Pacific notified counsel who
                              6 have specially appeared for Mr. Igdaloff in this action of Union Pacific’s intent to
                              7 file this ex parte application, the date and substance of the application, and Union
                              8 Pacific’s requested relief; such counsel expressed support for this application and
                              9 requested relief. See Decl. of Sarah P. Bell in Supp. of Ex Parte Appl. to Correct
                           10 Order (“Bell Decl.”) ¶ 2, filed concurrently herewith.
                           11             The contact information for counsel who have specially appeared for
                           12 Mr. Igdaloff is as follows:
                           13                    Marshal A. Oldman
                                                 Oldman, Cooley, Sallus, Birnberg, Coleman & Gold, L.L.P.
                           14
                                                 16133 Ventura Boulevard, Penthouse
                           15                    Encino, CA 91436-2403
                                                 Phone: (818) 986-8080
                           16
                                                 Email: mao@oclslaw.com
                           17
                           18             Accordingly, Union Pacific respectfully requests that the Court amend the
                           19 August 10, 2022 Order (at paragraph 2, page 3) to delete reference to dismissing the
                           20 remaining claims and counterclaims between Union Pacific and the Igdaloff Parties
                           21 and to likewise delete direction to the Clerk to close the case pending the imminent
                           22 filing of the Parties’ Stipulated Judgment.
                           23 Dated: August 11, 2022                    FARELLA BRAUN + MARTEL LLP
                           24
                           25                                           By:         /s/ Sarah P. Bell
                           26                                                 Sarah P. Bell

                           27                                           Attorneys for Defendant Union Pacific Railroad
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                              1                  MEMORANDUM OF POINTS AND AUTHORITIES
                              2           Union Pacific respectfully requests that the Court amend the August 10, 2022
                              3 Order Granting Motion for Determination of Good Faith Settlement, ECF No. 484
                              4 (“Order”), to correct a clerical error referencing dismissal of remaining claims and
                              5 direction to the Clerk to close the case so that the Parties may file the Stipulated
                              6 Judgment contemplated by their settlement—a key, necessary term of the settlement
                              7 that the Court rightly determined to have been made in good faith.
                              8           Federal Rule of Civil Procedure 60(a) authorizes the Court to correct a
                              9 clerical mistake or a mistake arising from oversight or omission “on motion or on its
                           10 own, with or without notice.” Fed. R. Civ. P. 60(a). Rule 60(a) thus authorizes the
                           11 Court to “make an order reflect the actual intentions of the court, plus necessary
                           12 implications.” Jones & Guerrero Co., Inc. v. Sealift Pac., 650 F.2d 1072, 1074 (9th
                           13 Cir. 1981) (holding that the district court properly invoked Rule 60(a) to amend an
                           14 order dismissing a case when it never intended to do so); see also Garamendi v.
                           15 Henin, 683 F.3d 1069, 1079 (9th Cir. 2012) (“Courts enjoy broad discretion to
                           16 correct clerical errors in previously issued orders in order to conform the record to
                           17 the intentions of the court and the parties.”) (citation and internal quotation marks
                           18 omitted) (emphasis added by the Court of Appeals).
                           19             Here, Union Pacific requests that the Court delete reference to dismissal and
                           20 immediate closure of the action to conform the Order to reflect the Court’s and the
                           21 Parties’ shared intent to provide the Parties an opportunity to file a Stipulated
                           22 Judgment pursuant to Rule 41(a)(2) providing for the Court’s continuing jurisdiction
                           23 over critical obligations in the settlement, followed by entry and recordation of
                           24 Abstracts of Judgment, as described in Union Pacific’s moving papers at pages 6-7.
                           25 See Union Pacific’s Mot. for Determination of Good Faith Settlement (“Motion”),
                           26 ECF No. 482, Mem. in Supp. of Mot. for Determination of Good Faith Settlement
                           27 (“Mem.”) at 6-7, EFC No. 482-1.
                           28 / / / /
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                                    EX PARTE APPL. TO CORRECT ORDER –        4
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                              1           The filing and entry of a Stipulated Judgment, expected to be filed in the next
                              2 few weeks, followed by entry and recordation of Abstracts of Judgment are key
                              3 terms of the Parties’ Settlement. See “Mem.” at 6-7; see also Decl. of Sarah P. Bell
                              4 in Supp. of Mot. for Determination of Good Faith Settlement (“Bell Good Faith
                              5 Mot. Decl.”) ¶ 2, ECF No. 482-2. In particular, Union Pacific and the Igdaloff
                              6 Parties agreed to enter into and file a Stipulated Judgment pursuant to Federal Rule
                              7 of Civil Procedure 41(a)(2), providing for the Court’s continuing jurisdiction over
                              8 important obligations in the Parties’ settlement. Such obligations for which the
                              9 Parties seek the Court’s continuing jurisdiction include, but are not limited to, those
                           10 related to the Igdaloff Parties’ payment of $4,900,000 to Union Pacific, preparation,
                           11 entry and recordation of Abstracts of Judgment as security for the Igdaloff Parties’
                           12 settlement payment to Union Pacific, restrictions on enforcement of the Stipulated
                           13 Judgment until after Mr. Igdaloff’s death, and restrictions and stipulations relating to
                           14 the distribution of proceeds from the sale of certain of the Igdaloff Parties’ real
                           15 properties should certain properties be sold prior to Mr. Igdaloff’s death. Mem.
                           16 at 6:27-7:16; see also Bell Good Faith Mot. Decl. ¶ 2. Indeed, certain of these
                           17 important settlement terms that will be the subject of the Parties’ Stipulated
                           18 Judgment are among those the Court considered in the Order. See Order at 2 (citing
                           19 Tech-Bilt, Inc. v. Woodward-Clyde & Assocs., 38 Cal. 3d 488, 499 (1985), regarding
                           20 the fifth of six factors considered to determine whether the Parties’ settlement was
                           21 made in good faith (the Igdaloff Parties’ financial condition): “is not at issue since
                           22 Union Pacific will secure the settlement by a lien on the Igdaloffs’ real property.”
                           23             Rule 60(a) authorizes correction of the clerical error in the Order so that the
                           24 Parties’ and the Court’s intentions to effectuate the Parties’ settlement are met by
                           25 providing an opportunity for the Parties to file the Stipulated Judgment and enter
                           26 and record Abstracts of Judgment as security for the settlement payment to Union
                           27 Pacific. Accordingly, Union Pacific respectfully requests that the Court issue an
                           28 amended Order that deletes reference to dismissal of the remaining claims between
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                              1 Union Pacific and the Igdaloff Parties and likewise deletes direction to the Clerk to
                              2 close the case pending filing of the Stipulated Judgment.
                              3
                              4 Dated: August 11, 2022                  FARELLA BRAUN + MARTEL LLP
                              5
                              6                                         By:         /s/ Sarah P. Bell
                              7                                               Sarah P. Bell

                              8                                         Attorneys for Defendant Union Pacific Railroad
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